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                     Exhibit A
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    Dear fudge Garrafas,



    My mom is the definition of care and love. She is gentle, kind, and generous to a
    fault. She loves people. She loves helping people and has built her whole life
    around it. She would say, when describing herself to others that she is just a
    Jewish girl from New Jersey who became a nurse. This was her start, though she
    has developed into a person devoted to bettering others. She has searched for
    the best ways to do this my entire life. Whether it was nursing, psycho-analysis,
    NLP, Kundalini yoga, or even guardian angel workshops, the underlying theme is
    her devotion to finding the best tools to help others. She has been a teacher
    mostly ever since I can remember- always looking to better herself so she can
    better others. She was constantly traveling and seeking teachers and education.
    It takes a person with true kindness, and true grace to dedicate their life to
    bettering others.

    For my whole life my mom has been my touchstone. She has been the person I
    have looked to for all the answers to my questions. She has helped me look for
    options when I saw none. No matter how busy she was helping others, she
    always made time for my sister and l. She would give up everything she had for
    us.
    When I was in elementary school I brought my friends to her to help them with
    their questions and troubles because to me, she is has and always will be the
    light. These friends always told me I was the luckiest to have a mom like her, that
    they were jealous of our relationship, but it was natural for me. I was always
    proud they loved her too. She has dedicated her whole life to helping people.

   This has been without question, most difficult time in her life. I believe when she
   met Keith Raniere, he took advantage of her belief in him. She was going through
   a divorce with my stepfather and was at a low part in her life. I think Keith sold
   himself as her answer and used her kindness, her dedication to others, and her
   tireless work ethic to further his own agenda. She saw him as a teacher, a friend
   and a guide. Over the last 20 years and the start of ESP, she has reached
   thousands of people for the better. I think so many people gravitated towards her
   because they saw her as a friend and helper, someone that wanted to help them
   improve. lt would be a tragedy if she wasn't able to continue to work with people.
   To take away her life's work would be a very sad thing for the world. Thank you
   for your consideration.

   Sincerely,

    M     lle
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 June 6, 2021

 The Honorable Judge Nicholas Garaufis
 Federal District Court Judge
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, NY 11201

  Re: Nancy Salzman Federal Sentencing


  To the Honorable Judge Garaufis,


 My name is Renee Krul. I have been a registered nurse for over 40 years, having worked in multiple acute
 care and outpatient settings. I was the recipient of several national awards for my case management
 work with people with long term disabilities and individuals with the birth defect, Spina Bifida. I am also a
 Health Information Management Professional and a certified clinical coder. Several years back, I started a
 business that performs clinical reviews for hospital providers and managed care organizations to verify
 the accuracy of diagnosis and procedural coding related to acute care hospital stays. The purpose of our
 efforts is to assure compliance with Medicare/ CMS regulations for revenue integrity within the purview
 of fraud, waste and abuse prevention. I perform volunteer and charitable functions as well by being on
 the Executive Board of a non-profit organization, The Oscar and Ella Wilf Campus for Senior Living in
 Somerset, New Jersey. I also serve as the President of the Board of their hospice organization, The Martin
 and Edith Stein Hospice.
 In a professional capacity as an experienced nurse case manager, I have guided and assisted Nancy
 Salzman in the planning and coordinating of her parents' complex care needs. At times when Nancy was
 without any assistance with her constant caregiving responsibilities, I have also stepped in to help her.
 Nancy has taken on an extremely challenging situation and has approached it proactively and consistently
 with great care and compassion. She single-handedly assumed this entire responsibility and has never
 wavered in her devotion to it despite the tiring and unpredictable challenges that inevitably arise.
 Although Nancy has an older sibling, she has clearly expressed her inability to assist Nancy with this.

  I am writing today primarily as Nancy Salzman's first cousin. I am one of few people who can say that I
 have known Nancy my entire life and most of hers. She is two years older than I am. Our mothers were
 sisters and we grew up essentially as 4 sisters together with our own sisters, respectively. We were
 together a minimum of once a week for an entire day at our grandparents' house and usually more often
 than that. We shared all life events and we even shared clothes.

 Nancy always treated me with such patience and kindness. I was the youngest of the "4 girl cousins" and
as such was sometimes the likely underdog in our child's play activities. I was a child who stuttered
severely at times, which was something that caused me great anguish most of my earlier life until my own
persistent self-help efforts led me to essentially overcome it in my fifties. Nancy always showed such
compassion and tenderness towards me, much more so than even my own sibling did. She often spent
time with me to do relaxation exercises and to try to help my have greater self-understanding that would
facilitate my recovery as a person who stuttered. She has a special interest in helping those who stutter
even to this day.
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    Lorraine Loshin
    51 Stratford Terrace
    Cranford, NJ 07016
    July 4, 2021

    The Honorable Judge Nicholas Garaufis
    Federal District Court Judge
    United States Courthouse
    225 Cadman Plaza East
    Brooklyn, NY 11201
    Re: Nancy Salzman Federal Sentencing

    To the Honorable Judge Garaufis,

    My name is Lorraine Loshin, I am Nancy Salzman’s mother. I am 92
    years old. I would like to share some things about my daughter that I
    hope you will consider in your evaluation of her. From the time Nancy
    was a little girl she was a caring person who always wanted to help those
    around her. She started caring for me when she was 6 years old and I
    was bedridden for 3 weeks. She got up each morning and emptied my
    bedpan and brought me food. It was no surprise that she chose to go to
    nursing school.

    In the last 3 years, as we began to age and things started to slip around
    the house, Nancy noticed and stepped in. She began shopping with me
    and cooking for us, taking both of us to our doctor’s appointments
    helping with medical decisions and doing our book keeping.

    As my husband’s health began to fail, Nancy spent more and more time
    with us, taking him to his doctor’s appointments and administering his
    medications. In June of 2020 when my husband had pneumonia, Nancy
    was here in those critical moments and she called an ambulance. He was
    having a heart attack in the ambulance on the way to the hospital. This
    decision actually saved his life. They admitted him to the cardiac lab and
    performed a procedure where they inserted 2 stents.

    Nancy has been with us almost continuously for the last 18 months.
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    When my husband feels anxious he calls for her, she has a calming effect
    on him. She takes care of all of our needs, shopping, cooking, giving my
    husband nursing care and she provides all the information that we
    wouldn’t know how to do. She solves all of our problems. We wouldn’t
    have been about to stay in our home of 70 years if not for Nancy and all
    she has done. This was our wish, to stay in our own home and not go to
    a facility. I love my daughter very much and would ask for you to give her
    any consideration you can so that she can stay with us and continue to
    provide a loving environment. I do not believe we can survive without her
    help at this juncture of our lives.

    Thank you in advance for your consideration. I believe my Nancy is one
    in a million.

    Sincerely,

    Lorraine Loshin
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  From: Ben Myers benxmy@gmail.com
Subject: Letter for Your Lawers
   Date: August 15, 2021 at 4:23 PM
     To: Nancy Salzman nsalzman5@gmail.com
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